                Case 2:21-cv-01190-BJR Document 14 Filed 09/27/21 Page 1 of 5




 1                                                THE HONORABLE BARBARA J. ROTHSTEIN

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON

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 9   SHEILA HAMILTON-BYNUM on behalf of
                                                      No. 2:21-cv-01190-BJR
     herself and all others similarly situated,
10                                                    STIPULATION AND ORDER TO
                   Plaintiff,
                                                      EXTEND TIME TO ANSWER
11         v.                                         COMPLAINT

12   T-MOBILE USA, INC.,

13                 Defendant.

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24   STIPULATION AND ORDER TO EXTEND                                          Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
     TIME TO ANSWER COMPLAINT (No. 2:21-                               Seattle, Washington 98101-3099
     cv-01190-BJR) - 1                                                       Phone: 206.359.8000
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               Case 2:21-cv-01190-BJR Document 14 Filed 09/27/21 Page 2 of 5




 1           Pursuant to District of Washington Local Rules 7(d)(1) and 10(g), Plaintiff Sheila

 2   Hamilton-Bynum, and Defendant T-Mobile USA, Inc., (“the Parties”), stipulate that T-Mobile’s

 3   deadline to answer or otherwise respond to the Complaint in the above-captioned action is

 4   extended for a total of 60 days, through November 29, 2021.1

 5           Good cause exists for this extension, as there is a pending motion before the Judicial Panel

 6   on Multidistrict Litigation (“JPML”) regarding transfer and coordination or consolidation of

 7   related cases for pretrial proceedings under 28 U.S.C. § 1407. See In re T-Mobile Customer Data

 8   Sec. Breach Litig., MDL Docket No. 3019 (J.P.M.L. filed Aug. 23, 2021) (ECF No. 1). The

 9   plaintiffs in a rea case, Daruwalla v. T-Mobile USA, Inc., No. 2:21-cv-1118 (W.D. Wash. filed

10   Aug. 19, 2021), filed the transfer motion and identified this case, and numerous others, as related

11   cases that should be transferred. In re T-Mobile., MDL Docket No. 3019 (ECF Nos. 1, 2, 8-1, 11,

12   20, 48, 62). The additional 60 days will conserve judicial resources by allowing T-Mobile to assess

13   the pending JPML motion and continue discussions with Plaintiffs’ counsel here and counsel in

14   the related cases before responding to Plaintiffs’ Complaint.

15                                                 Dated: September 24, 2021

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      Sixty days from T-Mobile’s current response deadline is Sunday, November 28, 2021. See ECF
22   No. 4 (service of process dated September 8, 2021); Fed. R. Civ. P. 12(a). So T-Mobile’s new
     deadline would “run until the end of the next day that is not a Saturday, Sunday, or legal holiday.”
23   Fed. R. Civ. P. 6(a)(1)(C).
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              Case 2:21-cv-01190-BJR Document 14 Filed 09/27/21 Page 5 of 5




 1                                            ORDER
     IT IS SO ORDERED.
 2

 3
     Dated this 27th day of September 2021.
 4
                                                           s/Barbara J. Rothstein
 5
                                                           Barbara J. Rothstein
 6                                                         U.S. District Court Judge

 7
     Presented by:
 8   /s/ Steve Y. Koh
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